                                                   Case 8:12-cv-01994-DOC-JCG Document 36-2 Filed 05/12/14 Page 1 of 19 Page ID #:240




                                                       1   ROBERTS & KEHAGIARAS LLP
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                                                       2   cwr@tradeandcargo.com
                                                           THEODORE H. ADKINSON, ESQ. (State Bar No. 167350)
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                                                           1 World Trade Center, Suite 2350
                                                       4   Long Beach, CA 90831
                                                           Telephone: (310) 642-9800
                                                       5   Facsimile: (310) 868-2923
                                                       6   Attorneys for plaintiffs
                                                           DAVID PARKER and BIG BIRD HOLDINGS, LLC
                                                       7
                                                       8                                       UNITED STATES DISTRICT COURT
                                                       9                  CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                                                      10
                                                      11   DAVID PARKER and BIG BIRD       )                              Case No. SACV12-1994 DOC(ANx)
ROBERTS & KEHAGIARAS LLP




                                                           HOLDINGS, LLC,                  )
                                                      12                                   )                              DECLARATION    OF THEODORE H.
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                                                                     Plaintiffs,           )                              ADKINSON IN    SUPPORT OF
                                                      13                                   )                              PLAINTIFFS’    OPPOSITION TO
                                                                vs.                        )                              DEFENDANT’S    MOTION FOR SUMMARY
                                                      14                                   )                              JUDGMENT
                                                           ALEXANDER MARINE CO., LTD,      )
                                                      15   OCEAN ALEXANDER MARINE CENTER, )                               Date:         June 2, 2014
                                                           INC., OCEAN ALEXANDER SERVICES, )                              Time:         8:30 a.m.
                                                      16   L.L.C., and OCEAN ALEXANDER     )                              Courtroom:    9D
                                                           MARINE YACHT SALES, INC.        )                              Judge:        Hon. David O. Carter
                                                      17                                   )
                                                                          Defendant.       )                              Date Filed:       November 14, 2012
                                                      18                                   )
                                                      19
                                                      20   I, Theodore H. Adkinson, declare:
                                                      21             1.        I    am      an     attorney           with    Roberts   &     Kehagiaras,    LLP,
                                                      22   attorneys for plaintiffs David Parker and Big Bird Holdings,
                                                      23   LLC.         I have personal knowledge of the facts contained herein
                                                      24   and if called as a witness could testify competently thereto.
                                                      25             2.        On November 15, 2013, I took the depositions of Ocean
                                                      26   Alexander               Marine        Yacht         Sales      employees     Tim    Curry   and    Ray
                                                      27   Prokorym.
                                                      28

                                                                                                                      1
                                                           Z:\Parker v. Alexandar Marine\OAMYS MSJ - OPPO - Decl of
                                                                                                                              ADKINSON DECLARATION IN SUPPORT OF
                                                           THA.doc
                                                                                                                             OPPOSITION TO OCEAN ALEXANDER’S MSJ
                                                   Case 8:12-cv-01994-DOC-JCG Document 36-2 Filed 05/12/14 Page 2 of 19 Page ID #:241




                                                       1             3.        Attached to this declaration as Exhibit A is a true
                                                       2   and correct copy of the applicable excerpts of the deposition
                                                       3   transcript of Tim Curry.
                                                       4             4.        Attached to this declaration as Exhibit A is a true
                                                       5   and correct copy of the applicable excerpts of the deposition
                                                       6   transcript of Ray Prokorym.
                                                       7             5.        On       April          30,        2014,           I    had     a     short       telephone
                                                       8   conversation               with        defendants’                counsel,         Ronald     Rosenberg,        in
                                                       9   which he for the first time raised the issue of filing a motion
                                                      10   for summary judgment as to the U.S. defendants.                                                     During that
                                                      11   call, I agreed to dismiss two U.S. defendants since discovery
ROBERTS & KEHAGIARAS LLP




                                                      12   had indicated they had no apparent direct connection to the
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                                                      13   facts alleged in this lawsuit.                                     However, I disputed his claim
                                                      14   that         Ocean          Alexander              Marine          Yacht          Sales,       Inc.        (“Ocean
                                                      15   Alexander”)                had        no        liability               based       upon       its     warranty
                                                      16   obligations.
                                                      17             6.        During          that         April           30,       2014,    call       I     asked     Mr.
                                                      18   Rosenberg             to      provide           me         with     a      letter       or    other        written
                                                      19   explanation                detailing            his         position         with       respect       to     Ocean
                                                      20   Alexander’s lack of liability, and he agreed to do so.                                                       Since
                                                      21   that call, we did not discuss the motion again, and I have
                                                      22   never received that written explanation prior to the service of
                                                      23   Ocean Alexander’s motion.
                                                      24             7.        In       that          defendant               Alexander            Marine       Co.      Ltd.
                                                      25   (“Alexander Marine”) has not answered the complaint as of the
                                                      26   filing         of      this        opposition,                  plaintiffs         have      been    unable     to
                                                      27   obtain documents or discovery from this entity, and I therefore
                                                      28   request additional time to conduct such discovery.

                                                                                                                       2
                                                           Z:\Parker v. Alexandar Marine\OAMYS MSJ - OPPO - Decl of
                                                                                                                                   ADKINSON DECLARATION IN SUPPORT OF
                                                           THA.doc
                                                                                                                                  OPPOSITION TO OCEAN ALEXANDER’S MSJ
                                                   Case 8:12-cv-01994-DOC-JCG Document 36-2 Filed 05/12/14 Page 3 of 19 Page ID #:242




                                                       1             8.        This       requested            discovery         would      allow   plaintiffs       to
                                                       2   elicit further evidence as to the extent of Alexander Marine’s
                                                       3   assignment              of       warranty             obligations          and     Ocean        Alexander’s
                                                       4   adoption           of     the        obligations,              as   well    as    the    extent     of   the
                                                       5   common          control           and       ownership             between     Ocean      Alexander       and
                                                       6   Alexander Marine.
                                                       7             I declare under penalty of perjury under the laws of the
                                                       8   United          States          of      America            that     the    foregoing       is     true   and
                                                       9   correct.
                                                      10   Dated: May 12, 2014                                               /s/ Theodore H. Adkinson
                                                      11                                                                       Theodore H. Adkinson
ROBERTS & KEHAGIARAS LLP




                                                      12
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                                                                                                                               OPPOSITION TO OCEAN ALEXANDER’S MSJ
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                                                EXHIBIT “A”
Case 8:12-cv-01994-DOC-JCG Document 36-2 Filed 05/12/14 Page 5 of 19 Page ID #:244

                 1077253                                                  CERTIFIED COpy

                                     UNITED STATES DISTRICT COURT

                    CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION


                 DAVID PARKER and BIG BIRD
                 HOLDINGS, LLC,

                                        Plaintiffs,
                                                                SACV12-1994
                          vs.                                   DOC (ANx)

                 ALEXANDER MARINE CO., LTD,
                 OCEAN ALEXANDER MARINE CENTER,
                 INC., OCEAN ALEXANDER
                 SERVICES, L.L.C., and OCEAN
                 ALEXANDER MARINE YACHT SALES,
                 INC.

                                        Defendants.


                                DEPOSITION UPON ORAL EXAMINATION OF

                                                    TIM CURRY




                                                   12:44 P.M.

                                              NOVEMBER 15, 2013

                                     1301 FIFTH AVENUE, SUITE 3300

                                             SEATTLE, WASHINGTON




                  REPORTED BY: CARLA R. WALLAT, CCR 2578




                KUsar·
                Court Reporters &
                Legal Services, Inc.
                California. National· Global
                800.282.3376 kusar.com calendar@kusar.com
         11115/2013
Case   8:12-cv-01994-DOC-JCG
         Tim Curry                       Document
                                              David36-2   Filed
                                                   Parker vs.     05/12/14
                                                              Alexander Marine Page 6 of 19 Page ID #:245
                                                                                                      1077253

           1                     SEATTLE, WASHINGTON; NOVEMBER 15, 2013

           2                                           12:44 P.M.

           3                                             --000--


           4

           5                                           TIM CURRY,

           6           sworn as a witness by the Certified Court Reporter,

           7                                  testified as follows:

           8

           9                                           EXAMINATION

         10        BY MR. ADKINSON:

         11               Q.     Would you state and spell your name for the

         12       record, please.

         13               A.     Tim Curry, T-I-M, C-U-R-R-Y.

         14               Q.     Mr. Curry, do you currently work for Ocean

         15       Alexander Marine Yacht Sales?

         16               A.     I do.

         17               Q.     What is your job title?

         18               A.     Service operations manager.

         19               Q.     Okay.      And when did you start working?

         20               A.     2008, May.

         21               Q.     Okay.      And were you working for Ocean

         22       Alexander Marine Yacht Sales before that in a different

         23       capacity?

         24               A.     No.

         25               Q.     Okay.      And for the record, to simplify

        Kusar Court Reporters & Legal Services, Inc.                                                        4
         1111512013
Case   8:12-cv-01994-DOC-JCG
         Tim Curry                      Document
                                             David36-2    Filed
                                                   Parker vs.    05/12/14
                                                              Alexander MarinePage 7 of 19 Page ID #:246
                                                                                                      1077253


           1      matters, I will refer to Ocean Alexander Marine Yacht

           2      Sales as Ocean Alexander and so when I                  say Ocean

           3      Alexander in the future, you'll understand that to mean

           4      Ocean Alexander Marine Yacht Sales?

           5              A.     Okay.

           6              Q.     Okay?      Great.

           7                     Where did you work prior to Ocean Alexander?

           8              A.     Kohorie Construction.

           9              Q.     And is that in the Seattle area?

         10               A.     Yes.

         11               Q.     And what was your title there?

         12               A.     Superintendent.

         13               Q.     And what type of work were you doing there?

         14               A.     Multiple family dwellings.

         15               Q.     And what years were you there?

         16               A.     2006 to 2008.

         17               Q.     Okay.      And prior to 2006?

         18               A.     Canal Boatyard.

         19               Q.     And where is that located?

         20               A.     Ballard.

         21               Q.     Ballard?

         22               A.     (Nodding. )

         23               Q.     And what was your position there?

         24               A.     General manager.

         25               Q.     And how long were you there?

        Kusar Court Reporters & Legal Services, Inc.                                                        5
        1111512013
Case   8:12-cv-01994-DOC-JCG
         Tim Cuny                        Document
                                              David36-2    Filed
                                                   Parker vs.     05/12/14
                                                              Alexander Marine Page 8 of 19 Page ID #:247
                                                                                                      1077253

           1      with.

           2              Q.     Okay.      Now, do you get any claims that come in

           3      for any Ocean Alexander that's sold in the United

           4      States?

           5              A.     I deal with just West Coast.             West Coast,

           6      Mexico to Canada.

           7              Q.     So if something's sold in Newport, they're

           8      still dealing with you?

           9              A.     Yes.

         10               Q.     And this is true even if it was sold by Orange

         11       Coast Yachts which no longer is an Ocean Alexander

         12       dealer, correct?

         .13              A.     Orange Coast Yachts would have taken care of

         14       their own warranty when they were a dealer.

         15               Q.     When they were a dealer.            And then after the

         16       termination of the dealership?

         17               A.     I would facilitate any questions that an owner

         18       may have.

         19               Q.     Okay.      Do you know when they were terminated

         20       as a dealer?

         21               A.     I couldn't give you a specific date, but I

         22       would say maybe two or three years ago.

         23               Q.     And do you know why they were terminated?

         24               A.     I do not.

         25               Q.     In terms of claims·handling, does it matter to

        Kusar Court Reporters & Legal Services, Inc.                                                       11
   11115/2013
CaseTim
      8:12-cv-01994-DOC-JCG
        Curry               Document   36-2
                              David Parker      Filed 05/12/14
                                           vs. Alexander Marine Page 9 of 19 Page ID1077253
                                                                                     #:248

      1              A.     That it would be a warranty claim, possible.

      2              Q.     Can you think of any reason it wouldn't be

      3      covered?

      4              A.     It depends upon the cause.

      5              Q.     Covered the cause, cause is that they failed

      6      to cure it in the first instance when they lit the

      7      hull?

      8              A.     Then it would be up to the factory to

      9      determine whether that was under warranty or not.

     10              Q.     But you have no opinion as to whether or not

     11      that would be covered?

     12              A.     No.     I don't determine coverage.

     13              Q.     I understand.         I'm talking about your personal

     14      opinion.

     15              A.     Uh-huh.

     16              Q.     Would you think that is something that should

     17      be covered?

     18              A.     Depends upon what caused it.

     19                               MR. WISHKO:    All right, that's round

     20      three of the same line.              So let's move on, please.

     21              Q.     (BY MR. ADKINSON)        Would the Ocean Alexander

     22      98 be something to be expected to travel on the ocean?

     23              A.     Yes.

     24              Q.     Something you'd expect to be seaworthy?

     25              A.     Yes.

   Kusar Court Reporters & Legal Services, Inc.                                          61
   11115/2013
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   Tim8:12-cv-01994-DOC-JCG
       Cuny                 Document   36-2
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                                                                                  ID
                                      #:249
      1      David Parker and Johnny Cheuh?

      2              A.     I have seen none.

      3              Q.     I will show you what we'll mark as Exhibit 11.

      4                               (Deposition Exhibit 11 was marked for

      5                                identification. )

      6              Q.     (BY MR. ADKINSON)       I take it you've never seen

      7      this document?

      8              A.     No.

      9              Q.     Okay.      Have you met Johnny Cheuh?

    10               A.     Yes.

    11               Q.     What is his role at Ocean Alexander?

    12               A.     Ocean Alexander Marine Yacht Sales?

    13               Q.     Yes.

    14               A.     I think he may be an owner.

    15               Q.     Does he have any other titles there?

    16               A.     I don't know the title that he has.

    17               Q.     Who's the president of Ocean Alexander Marine

    18       Yacht Sales?

    19               A.     I have never seen a title for anybody.       He is

    20       one of the owners as far as I know.

    21               Q.     Do you know what role he has at Alexander

    22       Marine?

    23               A.     I don't know.

    24               Q.     I'm going to direct you to what's the second

    25       page         third page of that document which is Bates

   Kusar Court Reporters & Legal Services, Inc.                                        65
   1111512013
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   Tim Curry               Document    36-2
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                                     #:250
      1      stamped marked Parker 000240 at the bottom.

      2              A.    Yes.

      3              Q.    Do you see that?        On -- and I'll report to you

      4     or indicate to you that this is an email from Johnny

      5      Cheuh to Dave Parker, my clients, regarding the JELLY

      6     BEAN which is the boat at issue in this litigation.

      7                    Under the third paragraph of that, he

      8      indicates -- he says as follows:              It was indicated in

      9      Tim Nolan report dated December 7 and Jeffrey Mallian

    10      December 1 report that, 1, extended keel is

    11       nonstructural, unquote.              This was by design as the

    12       extended keel is designed to break away upon impact.

    13       This -- thus the extended keel by design is not to make

    14       the entire -- take the entire force of any

    15       impact/grounding.

    16                      Have you ever heard of a de,sign of a boat like

    17       that?

    18               A.     Specifically, no.

    19               Q.     Have you ever heard of that -- do you know if

    20       that's the case with any Ocean Alexander Yachts that

    21       you've dealt with?

    22               A.     I'm not aware of it.        I'm not involved in the

    23       design of boats.

    24               Q.     The second paragraph of that, Subsection 3,

    25       Certain areas of the hull near keel seem thin, around

   Kusar Court Reporters & Legal Services, Inc.                                        66
   11115/2013
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                                      #:251
      1      half-inch of fiberglass, end quote.                 After studying the

      2      areas in question, relied on secondary bonding to

      3      provide the thickness for structural integrity.                 The

      4      fact that a collision/strap damage had occurred and

      5      delamination of the structural bulkhead was witnessed,

      6      evidenced this fact.                 Thus, it is Ocean Alexander1s

      7      professional opinion that the fiberglass was sufficient

      8      in thickness prior to impact and the only reason the

      9      measurements are one-half inch is due to the area had

    10       delaminated due to impact.

    11                      Does a half-inch hull near the keel on a

    12       100-foot yacht sound adequate to you?

    13               A.     I   couldn1t say whether half-inch is adequate

    14       or not.        Boats are built of all different thicknesses

    15       and thickness by itself does not in my opinion denote

    16       strength.

    17               Q.     Okay.      Are you familiar ever with collision

    18       damage causing delamination of the structural bulkhead?

    19               A.     Delamination of the bulkhead to the hull?

    20               Q.     Yes.

    21               A.     I   know of one 48-foot boat that had a

    22       collision.

    23               Q.     And it had -- resulting in delamination?

    24               A.     Not complete, but some of the collision

    25       bulkhead.

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   1111512013
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   Tim Cuny                Document    36-2
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                                                                                  ID
                                     #:252
      1              Q.     In the first paragraph, Subsection 3, it says,

      2      Thus it is Ocean Alexander's professional opinion to

      3      disagree that the current repair methods advocated by

      4      Gambol.        That is, Ocean Alexander or OA, disagrees with

      5      reinforcement to make the extended keel structural.                   We

      6      believe this take on additional risk to the boat in

      7      case of a collision may compromise the hull/original

      8      keel.

      9                    Have you ever seen Johnny Cheuh weigh in on a

    10       warranty claim in this manner?

    11                                MR. WISHKO:        Object to the form.

    12               A.     I!ve had discussions with Johnny as far as the

    13       validity of warranty.

    14               Q.     (BY MR. ADKINSON)            And as far as you know,

    15       Johnny works for Ocean Alexander, correct, has some

    16       role at Ocean Alexander?

    17               A.     Yes.

    18               Q.     Do you know whether he's authorized to speak

    19       on behalf of Ocean Alexander?

    20               A.     I would assume.

    21               Q.     What's that assumption based on?

    22               A.     As far as I know, he is the person that I

    23       would ask for authorization on that kind of ...

    24               Q.     Kind of?

    25               A.     Oh, sorry.            On warranty.

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                                  #:253



    1                          REPORTER'S CERTIFICATE

    2

    3           I, CARLA R. WALLAT,   the undersigned Certified Court

    4    Reporter pursuant to RCW 5.28.010 authorized to administer

    5    oaths and affirmations in and for the State of Washington, do

    6    hereby certify that the sworn testimony and/or proceedings, a

    7    transcript of which is attached, was given before me at the

    8    time and place stated therein; that any and/or all witness (es)

    9    were duly sworn to testify to the truth; that the sworn

   10    testimony and/or proceedings were by me stenographically

   11    recorded and transcribed under my supervision, to the best of

   12    my ability; that the foregoing transcript contains a full,

   13    true, and accurate record of all the sworn testimony and/or

   14    proceedings given and occurring at the time and place stated

   15    in the transcript; that a review of which was requested; that

   16    I am in no way related to any party to the matter, nor to any

   17    counsel, nor do I have any financial interest in the event of

   18    the cause.

   19           WITNESS MY HAND AND DIGITAL SIGNATURE this 27th day of

   20    November, 2013.

   21

   22

   23

   24    CARLA R. WALLAT
         Washington State Certified Court Reporter, #2578
   25    cwallat@yomreporting.com



                                                                           78
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                                             EXHIBIT “B”
Case 8:12-cv-01994-DOC-JCG Document 36-2 Filed 05/12/14 Page 16 of 19 Page ID
                                  #:255
                1077458                                                     CERTIFIED COPY

                                   UNITED STATES DISTRICT COURT

                  CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION


               DAVID PARKER and BIG BIRD
               HOLDINGS, LLC,

                                      Plaintiffs,
                                                              SACV12-1994
                        vs.                                   DOC (ANx)

               ALEXANDER MARINE CO., LTD,
               OCEAN ALEXANDER MARINE CENTER,
               INC., OCEAN ALEXANDER
               SERVICES, L.L.C., and OCEAN
               ALEXANDER MARINE YACHT SALES,
               INC.

                                      Defendants.


                              DEPOSITION UPON ORAL EXAMINATION OF

                                   PERSON MOST KNOWLEDGEABLE OF

                                         ALEXANDER MARINE CO.

                                               RAY PROKORYM




                                               9:54 A.M.
                                            NOVEMBER 15, 2013

                                 1301 FIFTH AVENUE, SUITE 3300

                                          SEATTLE, WASHINGTON


               REPORTED BY: CARLA R. WALLAT, CCR 2578




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             Legal Services, Inc.
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             800.282.3376 kusar.com calendar@kusar.com
    11115/2013 - Alexander Marine Co.
CasePMK
     8:12-cv-01994-DOC-JCG
        Ray Prokorym       Document   36-2
                              David Parker     Filed 05/12/14
                                           vs. Alexander Marine Page 17 of 19 Page ID1077458
                                     #:256
       1              A.     No.

       2              Q.     On the first line of this email --

       3                                MR. ADKINSON:   And I'll put on the

       4      record, this is a email from Johnnycheuh®hotmail.com to

       5      Jimmclaren®sbcglobal.net dated October 8, 2009, 8:53

       6      p.m., and titled Termination Notice.

       7              Q.     (BY MR. ADKINSON) The first paragraph or

       8      sentence on this reads, This notice is to formally

       9      advise you that our discussions -- as our discussions

     10       on the subject of your sales representation has not

     11       resulted in the needed changes we desired, we are

     12       terminating your relationship with us as an independent

     13       sales agent.           This termination is effective October 9,

     14       2009.

     15                      Do you know what he is referring to with

     16       respect to changes needed?

     17               A.     Changes desired, no.

     18               Q.     Okay.       On the fourth, let's see, I guess it'd

     19       be fourth paragraph, Please direct all warranty items

     20       to Tim®oceanalexander.com where Alexander Marine will

     21       be involved directly with the customer.

     22                      Do you recognize the email

     23       Tim®oceanalexander.com?

     24               A.     Yes.

     25               Q.     And who is that email

    Kusar Court Reporters & Legal Services, Inc.                                          49
    11115/2013- Alexander Marine Co.
CasePMK
     8:12-cv-01994-DOC-JCG
         Ray Prokorym        Document     36-2vs. Alexander
                                  David Parker    Filed 05/12/14
                                                            Marine Page 18 of 19 Page ID1077458
                                         #:257
       1            A. Tim Curry.

       2              Q.     And do you know what he means by where

       3      Alexander Marine will be involved directly with the

       4      customer?

       5                               MR. WISHKO:     Object to the form.      You

       6      can answer if you --

       7              A.     I can only assume it's just like the receiver,

       8      Alexander Marine has to be involved with any warranty

       9      claims.        And Tim Curry is now the facilitatori just

      10      like he is currently, he'll be the facilitator for the

      11      leftover customers, if you will, to get the information

      12      to Alexander Marine which in effect is as it happens.

      13              Q.     (BY MR. ADKINSON)         Okay.      And so, at least as

      14      you read that, it would be that Ocean Alexander is

      15      taking over the responsibility from Orange Coast Yachts

      16      regarding the handling of claims, correct?

      17              A.     The communication of the warranty claims, not

      18      responsibility.

      19              Q.     Well, responsibility for communications?

      20              A.     Responsibility for communications.

      21                               MR. WISHKO:     We've gone about an hour.

      22      Let's take a little break.

      23                               MR. ADKINSON:      Sure.

      24                                (Recess taken.)

      25                               MR. ADKINSON:      Back on the record.

    Kusar Court Reporters & Legal Services, Inc.                                             50
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                                  #:258



   1                          REPORTER'S CERTIFICATE

   2

   3            I, CARLA R. WALLAT, the undersigned Certified Court

   4    Reporter pursuant to RCW 5.28.010 authorized to administer

   5    oaths and affirmations in and for the State of Washington, do

   6    hereby certify that the sworn testimony and/or proceedings, a

   7    transcript of which is attached, was given before me at the

   8    time and place stated therein; that any and/or all witness(es)

   9    were duly sworn to testify to the truth; that the sworn

  10    testimony and/or proceedings were by me stenographically

  11    recorded and transcribed under my supervision, to the best of

  12    my ability; that the foregoing transcript contains a full,

  13    true, and accurate record of all the sworn testimony and/or

  14    proceedings given and occurring at the time and place stated

  15    in the transcript; that a review of which was requested; that

  16    I am in no way related to any party to the matter, nor to any

  17    counsel, nor do I have any financial interest in the event of

  18    the cause.

  19            WITNESS MY HAND AND DIGITAL SIGNATURE this 27th day of

  20    November, 2013.

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  24    CARLA R. WALLAT
        Washington State Certified Court Reporter, #2578
  25    cwallat@yomreporting.com



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